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          ATTACHMENT A
      MAY 10, 2024 CBP JUVENILE
    COORDINATOR INTERIM REPORT
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                                 #:49473
                                                                           1300 Pennsylvania Avenue, NW
                                                                           Washington, DC 20229




 May 10, 2024

 MEMORANDUM FOR:               The Honorable Dolly M. Gee
                               Chief District Judge
                               U.S. District Court, Central District of California
                                                                                               5 /1 0 /2 0 2 4



 FROM:                         Henry A. Moak, Jr.                          X

                               Chief Accountability Officer
                               U.S. Customs and Border Protection

 SUBJECT:                      CBP Juvenile Coordinator May 10, 2024, Interim Report

 On April 3, 2024, this Court ordered the U.S. Customs and Border Protection (CBP) Juvenile
 Coordinator to file an interim report by May 10, 2024, to include: “an update regarding the
 number of minors held in open-air sites and the status of compliance with this order.” The order
 required the CBP Juvenile Coordinator to “(a) maintain records and statistical information on
 minors held in CBP custody for more than 72 hours, inclusive of the amount of time any Class
 Member spends in the open-air sites; and (b) monitor compliance with the Agreement with
 respect to any minors held in open-air sites.”

 The CBP Juvenile Coordinator submits the following report in response to this Court’s April 3,
 2024, Order.

 On May 1, 2024, based upon the operational situation in the San Diego Sector, I took my Flores
 Team into the field to review the outdoor congregation areas discussed in the April 3, 2024,
 order of this court. I now have an understanding of the conditions and situation on the ground at
 these remote areas, as well as those closer to cities. I observed no class members during my visits
 on May 1, 2024, and I will fully detail our findings in this report. U.S. Customs and Border
 Protection (CBP) remains in compliance with the Flores Settlement Agreement (FSA).
 I find that these locations may be where migrants congregate on one day, maybe not again for
 several days, and then maybe not again at all. From a personnel and logistics standpoint, the
 random and unpredictable nature of outdoor congregation areas presents a major challenge, as
 CBP does not have the resources to hold personnel and or logistical support in reserve given that
 CBP cannot predict where and when outdoor congregation areas will arise or how long they will
 remain in a given location. Therefore, CBP is unable to determine which areas may need
 resources or where personnel should be stationed.
 U.S. Border Patrol (USBP) Agents promptly respond upon being made aware of an emerging
 congregation area. Once it has been determined that unaccompanied minors and/or family units
 are present, they are prioritized for transport to USBP facilities as required in the FSA.
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 My understanding of the operational situation on the ground in San Diego Sector is informed not
 only by my May 1, 2024, observations, but also by my experience in the field for the past several
 years. Notwithstanding my experience as the CBP Juvenile Coordinator, I was struck by the
 remote conditions of these outdoor congregation areas. I have endeavored to convey these
 conditions through the detailed descriptions and photographs below. However, it was not until
 my visit to four of these areas that I fully appreciated the logistical challenges and appreciated
 how the unpredictable and arbitrary locations of outdoor congregation areas impact factors such
 as transport and infrastructure – which is lacking in these desert locations.
 The following are my observations and findings.
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 San Diego Sector Visit
 On May 1, 2024, my team and I visited the Whiskey 4, Whiskey 8, Marron Valley Rd./Gun
 Club, and Tower 177 outdoor congregation areas (OCAs) in USBP San Diego Sector (SDC) to
 observe the conditions on the ground. Whiskey 4 and Whiskey 8 are in the Imperial Beach
 Station’s Area of Responsibility (AOR) which is near the San Ysidro Port of Entry. Marron
 Valley Rd./Gun Club is in Brown Field Station’s AOR. Tower 177 is out near Jacumba in
 Boulevard Station’s AOR. These four areas were selected, as they were where Border Patrol
 Agents most commonly reported OCAs in the 60 days before my visit.

 I found that the situation on the ground is fluid and constantly changing. SDC has seven stations:
 Imperial Beach, Chula Vista, Brown Field, Campo, Boulevard, San Clemente, and Newton-
 Azrak. SDC also operates a soft-sided facility called the San Diego Area Detention Facility
 (SDC-SAD). In January 2024, CBP started holding FMUs at SDC-SAD. This opened holding
 space at the various stations to stage UCs until they can be transported to Imperial Beach Station,
 which is the UC hub for SDC. UCs are only held at other stations for the time needed to prepare
 them for transfer to Imperial Beach Station.

 USBP does not establish the OCAs, and the specific locations change based on migration flow
 and travel patterns. There is no set number of OCAs, because they pop up wherever migrants
 congregate. They have varied between Imperial Beach Station’s, Brown Field Station’s,
 Boulevard Station’s, and Campo Station’s AOR. As of the time of the JCD visit, there were no
 large numbers of migrants congregating in outdoor areas daily. SDC stated that they are seeing
 fewer migrants waiting at OCAs in recent weeks. Some OCAs do not have migrants daily;
 instead, it can be weeks before migrants congregate at those specific areas again. At the time of
 my visit, SDC informed me that they do not have a policy or practice of directing individuals to
 these locations, nor requiring them to stay at these areas. SDC stated that they inform migrants at
 an OCA that a transport vehicle will arrive, and that migrants will be transported to a CBP
 facility to be processed if they wait at an OCA for pick up. However, SDC mentioned that non-
 governmental organizations have put signs up on private land directing migrants with “asylum”
 and an arrow pointing in the direction of Tower 177.

 Once SDC is aware of people congregating at OCAs, through either cameras, USBP agents
 driving by, or call-ins by individuals or local government services, SDC will prioritize and
 arrange the transport of vulnerable populations, including UCs and FMUs. All FMUs are
 transported to safe and sanitary USBP facilities together; no parents or legal guardians are left at
 the OCAs while the child is transported to a facility.

 At two of the areas JCD visited, there were no migrants present (Whiskey 4 and Whiskey 8).
 There were about 10 adults at the Marron Valley Rd./Gun Club area, and USBP estimated about
 200 adults were at the Tower 177 area. There were no children at any of the four OCAs at the
 time we visited. USBP stated there were some children at Tower 177 earlier in the day, but
 USBP had already transported them from the area.
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                 Table 1. Humanitarian Aid Provided by CBP at Visited OCAs
                                                                        Hand
                                      Drinking          Port a
                                                                       Washing         Dumpster
                                       Water            Potties
                                                                       Stations
  Whiskey 4                              No               Yes            No                No
  Whiskey 8                              Yes              Yes            Yes               Yes
  Marron Valley Rd./Gun Club             No               No             No                Yes
  Tower 177                              Yes              Yes            Yes               Yes

 Currently, assuming that funding is available, it can take SDC about one week to augment an
 OCA comprised of large groups with humanitarian aid, if warranted. USBP in SDC determines
 what humanitarian aid may be warranted for a particular location based on the totality of
 circumstances, including but not limited to, an area’s location, number of migrants congregating,
 and service accessibility. Humanitarian aid provided by CBP, as listed in Table 1, are regularly
 serviced as part of their contract with vendors.

 Near San Diego POE OCAs
 Whiskey 4 and Whiskey 8 are located along the International Boundary Barrier with access to
 Mexico. Whiskey 4 is located on the South levee next to a shopping center. It is separated from
 the shopping center by a solid metal barrier. On the other side of the river, there are two sets of
 fences before the border with Mexico. Whiskey 8 is located on the South levee between the two
 sets of fences. The Tijuana side of the fence is an urban area. USBP stated they constantly
 observe migrants at these OCAs physically cross to the Mexican side of the border to purchase
 items or receive orders from food delivery apps through the slats of the fence. In addition, non-
 governmental organizations have set up a tent for food distribution with charging ports at
 Whiskey 8. The non-governmental organization was not staffing their tent while I was at
 Whiskey 8, but the tent was set up for cooking for large groups and had a power strip for
 charging small electronics attached to the northern fence.

 Whiskey 4
 Going in order from Photograph 1 to 4, it forms a panorama view from the East to West while
 standing at the tent to shade where a USBP car was parked during my visit. Dependent on
 manpower and field needs, SDC will station an agent here to act as a deterrence to crossings. In
 addition, the agent will be able to quickly respond to observed crossings.
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                                                         Picture 1. Photographer is standing on
                                                         the North levee looking South. After
                                                         the bridge, under construction in the
                                                         distance, and behind the fencing along
                                                         the right side of the photograph, is
                                                         Mexico.




                                                         Photograph 2. Photographer is
                                                         standing on the North levee looking
                                                         South towards Mexico. Like
                                                         photograph 1 but angled more
                                                         towards the West.




 Photograph 2
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                                                         Photograph 3. Photographer is
                                                         standing directly behind the tent,
                                                         looking due South towards Mexico.




 Photograph 3




                                                         Photograph 4. Photographer is looking
                                                         West. In the distance, along the far
                                                         right of the photograph is a white
                                                         building. Whiskey 8 is located directly
                                                         in front of the building.




 Photograph 4
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 Whiskey 8
 Photographs 5 to 12 form a 360-degree view from the center of the OCA moving East-North-
 West-South.




                                                                Photograph 5. Photographer is looking
                                                                towards Whiskey 4 in the East.
                                                                Mexico is to the right of the
                                                                photograph, on the other side of the
                                                                distant fence.




 Photograph 5




                                                                Photograph 6. Photographer is facing
                                                                North. Shows humanitarian aid
                                                                available at Whiskey 8. The “tent”
                                                                connected to the port a potty and
                                                                fence was placed by a migrant.


                                                                a potty and fence was
                                                                placed by a migrant.


 Photograph 6
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                                                         Photograph 7. Photographer is facing
                                                         North-Northwest. Tents behind the
                                                         fence belong to NGOs. Tents are in
                                                         the U.S.




 Photograph 7




                                                         Photograph 8. Photographer is looking
                                                         West.




 Photograph 8
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                                                          Photograph 9. Photographer is
                                                          looking South into Mexico, which is
                                                          on the distant side of the fence
                                                          where the billboard is.




  Photograph 9




                                                          Photograph 10. Photographer is
                                                          looking South into Mexico.




  Photograph 10
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                                                                     Photograph 11. Photographer is
                                                                     looking South into Mexico.




  Photograph 11




                                                                     Photograph 12. Photographer is
                                                                     looking South-Southeast along the
                                                                     fence with Mexico.




  Photograph 12


  Outside Jacumba Area OCAs
  Marron Valley Rd./Gun Club and Tower 177 are in mountainous areas. Marron Valley Rd./Gun
  Club is located about a 5 mile walk from the border. Tower 177 is located less than 1 mile from
  the Mexican border and is incredibly remote. Additionally, there are no large trees to provide
  shade for migrants, creating a hazardous desert environment for migrants congregating.
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  Temperatures in these areas can reach up to 115° Fahrenheit during the summer and freezing
  temperatures in the winter.

  Marron Valley Rd./Gun Club
  Photographs 13 to 16 show the Marron Valley Rd./Gun Club OCA.




                                                                    Photograph 13. Photographer is
                                                                    standing at the Northern edge of the
                                                                    OCA looking South at the OCA.
                                                                    Behind the USBP truck on the left is
                                                                    the dumpster shown in Photograph
                                                                    16. The SUVs in the photo are there
                                                                    for my visit, they are not typically
                                                                    located at this OCA.



                                                                    there for my visit,
  Photograph 13                                                     they are not typically
                                                                    located at this OCA.




                                                                    Photograph 14. Photographer is on
                                                                    the right side of the cars in
                                                                    Photograph 13, looking South.




  Photograph 14
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                                                          Photograph 15. Photographer is
                                                          standing on the South side of the OCA
                                                          looking towards the East.




  Photograph 15




                                                          Photograph 16. Photographer is
                                                          standing in the South side of the OCA
                                                          looking North. Adult migrants are
                                                          leaning against dumpster on the right
                                                          side of the picture.




  Photograph 16
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  Tower 177
  Photographs 17 to 20 show the area around the Tower 177 OCA.




                                                                 Photograph 17. Photographer is looking
                                                                 East.




  Photograph 17




                                                                 Photograph 18. Photographer is facing
                                                                 West.




  Photograph 18
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                                                          Photograph 19. Photographer is facing
                                                          South-Southeast. Tents in the distance
                                                          of the photograph show the start of
                                                          where migrants were congregating
                                                          when I visited.




  Photograph 19




                                                          Photograph 20. Photographer is facing
                                                          South on the gravel road leading to the
                                                          OCA.




  Photograph 20
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  It is hard to overstate the sheer remoteness of these OCAs. At Tower 177, it took us six minutes
  to drive from the OCA to the paved road where a USBP bus could pick migrants up to transport
  them to USBP facilities. All migrants must be shuttled from the OCA to the bus pick up area.
  That adds additional time to the migrant’s time in custody (TIC), as all migrants must be patted
  down before transport.1 To get from Tower 177 to Boulevard Station, it is a 20-minute drive on a
  day with good weather. To go directly to the SDC-SAD from Tower 177, it would be a minimum
  of 1.5 hours without the added time to pat down and prepare migrants for transport.

  Issues with Transportation
  USBP continues to comply with the FSA by expeditiously transporting UCs and FMUs to safe
  and sanitary USBP facilities to be processed. USBP prioritizes UCs and FMUs to transport to the
  nearest facility. At the OCAs I visited, UCs and FMUs are generally transported to USBP
  facilities within 6 hours of when USBP conducts a field interview with them. Transportation
  times are based on current trends and may require more than 6 hours to transport UCs and FMUs
  to USBP facilities if numbers increase in the future. Transportation issues arise due to the
  number of migrants encountered, available space at USBP facilities, the remote location of areas
  where migrants are, and the availability of vehicles or car seats.

  In Fiscal Year (FY) 2024 to date, SDC encountered 3,775 UCs and 40,293 FMUs.2 The number
  of individuals encountered exceeds SDC’s ability to immediately conduct a field interview,
  apprehend, and transport migrants to the nearest USBP facility, resulting in some wait time at
  OCAs. Of the migrants at an OCA, USBP will identify UCs and FMUs to quickly transport them
  to a CBP facility to be processed.

  Due to the number of migrants encountered, remote areas, and vehicle and staffing constraints, it
  is not possible to immediately transport all migrants encountered in the OCAs to USBP facilities.
  However, all migrants are transported as expeditiously as possible. Whiskey 4 and Whiskey 8 are
  accessible by paved roads where large passenger buses are able to transport large groups of
  people. Marron Valley Rd./Gun Club and Tower 177 are on private land and are remote and hard
  to reach locations. Larger passenger buses are not able to reach all the OCAs, as buses get stuck
  on train tracks or cannot reach their destination due to the large size of the vehicle. Therefore,
  USBP must use smaller vans to access these remote areas and safely transport migrants to the
  nearest USBP facility or to an area that a larger bus can reach.

  In the best interests of a child, USBP will use car seats to safely transport the child. If a car seat
  is necessary, additional time is needed to locate an available car seat, retrieve and properly
  secure the car seat, and reach the OCA. USBP has, and will continue to, prioritize transportation
  of UCs and FMUs to USBP facilities.



  1
   TIC is determined as of the start of the USBP field interview.
  2
   See, Southwest Land Border Encounters by Component: Fiscal Year to Date (FYTD), U.S. Department of
  Homeland Security, Customs and Border Protection, Southwest Land Border Encounters (By Component) | U.S.
  Customs and Border Protection (cbp.gov), (last visited May 3, 2024). Note that in this statistic, FMU includes both
  adult parents and children in a family unit.
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  As the number of migrants fluctuates, USBP cannot predict or assess the number of migrants
  who will congregate in any one area or where migrants will congregate, as the locations fluctuate
  as well.

  Number of Children in SDC held over 72 Hours
  From April 3, 2024, to April 26, 2024, there were a total of 484 UCs and children in FMUs in
  SDC that were held over 72 hours. These numbers represent children’s total time in custody,
  which may include some time an OCA prior to being brought to a USBP facility. A further
  breakdown by hour is shown in Table 2. As provided below, 32% of children held over 72 hours
  were held under 80 hours.

                                Table 2. TIC of Children in SDC Over 72 Hours
                                     TIC in         Number of       Percentage of
                                      Hours          Children         Children
                                       72-80           158              32.6%
                                       81-90            73              15.1%
                                      91-100            75              15.5%
                                     101-110            50              10.3%
                                     111-120            36               7.4%
                                     121-130            33               6.8%
                                     131-140            24               5.0%
                                     141-150            11               2.3%
                                     151-160            10               2.1%
                                     161-170            12               2.5%
                                     171-180             1               0.2%
                                     181-190             1               0.2%
                                       Total           484             100.0%

  During that same period, the average TIC for children in SDC held over 72 hours was 98 hours.
  The average TICs for all children held in SDC are listed in Table 3.

                                           Table 3. Average TIC in SDC
                                                              Average TIC
                                          Demographic
                                                               in Hours
                                               FMU               50.77
                                                UC               36.44

  On April 25, 2024, SDC had 2,077 apprehensions in one day. The total number of UC
  apprehensions was 43 and FMU3 apprehensions was 237. All 43 UCs apprehended that day were

  3
      For the April 25, 2024, SDC data, FMU numbers include parents/legal guardians and children.
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  processed within 24 hours of when USBP was made aware of migrants congregating and referred
  to the Office of Refugee Resettlement (ORR). Further, all migrants, including single adults, were
  generally transported from the OCA within 24 hours of when USBP was made aware of migrants
  congregating.

  Conclusions
  Based on my observations of the OCAs in SDC, CBP continues to prioritize UC and FMU
  transports to USBP facilities, in accordance with the FSA. Upon observation of migrants
  congregating at these areas, USBP will identify UCs and FMUs and expeditiously transport them
  to USBP facilities within 6 hours, which is the time USBP reasonably requires to prepare the
  child and arrange for transport to a suitable facility at this time.
